Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 1 of 37 PAGEID #: 11
                                                                   ELECTRONICALLY FILED
                                                                   COURT OF COMMON PLEAS
                                                                   Tuesday, March 15, 202211:37:58 AM
                                                                   CASE NUMBER: 2022 CV 01134 Docket ID: 36158241
                                                                   MIKE FOLEY
                                                                   CLERK OF COURTS MONTGOMERY COUNTY OHIO




           IN THE COMMON PLEAS COURT OF MONTGOMERY COUNTY, OHIO
                                CIVIL DIVISION

   OLWIN MET AL FABRICATION LLC
   1933 Kuntz Road
   Dayton, OH 45404,                                      CASE NO: - - - - - - - -

               Plaintiff,                                 JUDGE
                                                                  ---------
   vs.

   MULTI-CAM, INC.
   1025 West Royal Lane
   DFW Airport, TX 75261,                                 COMPLAINT

         and

   MULTICAM GREAT LAKES, INC.
   d/b/a MULTI CAM omo VALLEY
   TECHNOLOGY CENTER
   2727 Elmridge Drive NW
   Grand Rapids, MI 49534,

   Also serve at:
   18 Carnegie Way
   West Chester, OH 45246

               Defendants.


           Now comes Plaintiff, Olwin Metal Fabrication LLC ("Plaintiff' or "Olwin"), by and

  through its counsel, and for its Complaint against Defendants, Multi-Cam, Inc. and MultiCam

  Great Lakes, Inc. d/b/a Multi Cam Ohio Valley Technology Center (collectively "Defendants"),

  and pleads as follows:

                            FACTS COMMON TO ALL CAUSES OF ACTION

           1.        Plaintiff, Olwin Metal Fabrication LLC, is an Ohio limited liability company with

  its principal place of business in Montgomery County, Ohio and is engaged in the business of

  metal fabrication.


                                               EXHIBIT A
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 2 of 37 PAGEID #: 12




        2.        Defendant, Multi-Cam, Inc., is a Texas corporation with its principal place of

 business in Tarrant and Dallas Counties, Texas and is engaged in the business of manufacturing

 cutting machines.

        3.        Defendant, MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio Valley Technology

 Center, is a Michigan corporation with its principal place of business in Kent County, Michigan

 and is engaged in the business of manufacturing cutting machines.

        4.        Defendant, MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio Valley Technology

 Center also has a location in Butler County, Ohio where it is engaged in the business of

 manufacturing cutting machines. A true and accurate copy of Defendant, Multi Cam Great Lakes,

 Inc. d/b/a MultiCam Ohio Valley Technology Center's website page is attached hereto as

 Exhibit A.

        5.        However, according to the Ohio Secretary of State, Defendant, MultiCam Great

 Lakes, Inc. d/b/a MultiCam Ohio Valley Technology Center is not registered to do business in the

 State of Ohio.

        6.        On November 18, 2021, Olwin purchased an ARCOS Series Plasma Machine (the

 "Machine") from Defendants. On that date, Olwin put down a 50% deposit on the Machine,

 totaling $111,652.

        7.        The ARCOS Bridge & Rail Plasma Agreement ("Agreement") included an express

 warranty guaranteeing the Machine would be "fully functional and operating properly" at the time

 of installation. A true and accurate copy of the Agreement is attached hereto as Exhibit B.

        8.        On or about December 16, 2021, Olwin paid the remaining 50% due on the

 Machine, for a total purchase price of $223,304.




                                           EXHIBIT A
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 3 of 37 PAGEID #: 13




         9.      On or about December 20, 2021, the Machine was delivered to Olwin's place of

 business in Montgomery County, Ohio.

         10.     From January 10, 2022, through January 18, 2022, MultiCam's subcontractor

  installed the machine and performed training for Olwin on the Machine.

         11.     From the date of installation until present, the Machine has not worked as promised.

 Problems include, but are not limited to, the following: the 5-axis feature does not work properly

  when attempting to bevel; the Machine will not part mark with the Hypertherm XPR as it should

  (without modification of G-code); and the Machine will not pre-pierce (without modification of

  G-code).

         12.     To date, Defendants have failed to address Plaintiffs concerns of the Machine's

  failings, despite Plaintiffs efforts to communicate them directly to Defendants.

         13.     As a result of the Machine's failure to fully function and operate properly at the

 time of installation, Olwin did not accept the Machine.

         14.    Plaintiff has been damaged in the principal amount of $223,304 (the cost of the

 Machine), together with damages from lost time, lost materials, lost profits, loss of business and

  incidentals, plus attorneys' fees incurred and to be incurred in connection with prosecuting this

 claim, interest and costs, which are all related to the Machine's various deficiencies.

                                  FIRST CLAIM FOR RELIEF
                                   BREACH OF CONTRACT

         15.    Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

         16.    The foregoing actions and/or inactions of Defendants constitute material breaches

  of the Agreement.




                                            EXHIBIT A
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 4 of 37 PAGEID #: 14




         17.     As a direct result of Defendants' breach of the Agreement, Plaintiff has been

  damaged in the principal amount of $223,304 (the cost of the Machine), together with damages

 from lost time, lost materials, lost profits, loss of business and incidentals, plus attorneys' fees

  incurred and to be incurred in connection with prosecuting this claim, interest and costs which are

 all related to the Machine's various deficiencies.

                                 SECOND CLAIM FOR RELIEF
                                       NON-ACCEPTANCE
                                 Tex. Bus. & Com. Code Sec. 2.606

         18.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

         19.     Due to the Machine's deficiencies at the time of installation, Plaintiff could not

 accept the Machine as installed.

         20.     As a result of Plaintiffs non-acceptance, Plaintiffhas been damaged in the principal

 amount of $223,304 (the cost of the Machine), together with damages from lost time, lost

 materials, lost profits, loss of business and incidentals, plus attorneys' fees incurred and to be

  incurred in connection with prosecuting this claim, interest and costs which are all related to the

 Machine's various deficiencies.

                                 THIRD CLAIM FOR RELIEF
                               REVOCATION OF ACCEPTANCE
                                Tex. Bus. & Com. Code Sec. 2.608

         21.     Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

         22.     This cause of action is pied in the alternative, in the event it is determined that

  Plaintiff accepted the Machine as installed.

         23.     Plaintiff has since revoked its acceptance of the Machine based on the Machine's

  non-conformity, which substantially impairs its value to Plaintiff.




                                             EXHISIT A
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 5 of 37 PAGEID #: 15




         24.      As a result of the Machine's deficiencies, Plaintiff has been unable to use the

  Machine as delivered and has been damaged in the principal amount of $223,304 (the cost of the

  Machine), together with damages from lost time, lost materials, lost profits, loss of business and

  incidentals, plus attorneys' fees incurred and to be incurred in connection with prosecuting this

  claim, interest and costs which are all related to the Machine's various deficiencies.

                                  FOURTH CLAIM FOR RELIEF
                                    UNJUST ENRICHMENT

         25.      Plaintiff restates the prior paragraphs of this pleading as if fully rewritten herein.

         26.      Defendants have been unjustly enriched to the detriment of the Plaintiff, by failing

 to provide a machine that was fully functional and operating correctly at the time of installation,

  while retaining the full purchase price of the Machine, totaling $223,304.

         27.      As a result, Plaintiff has been damaged in the principal amount of $223,304 (the

  cost of the Machine), together with damages from lost time, lost materials, lost profits, loss of

 business and incidentals, plus attorneys' fees incurred and to be incurred in connection with

 prosecuting this claim, interest and costs which are all related to the Machine's various

  deficiencies.

         WHEREFORE, Plaintiff prays as follows:

                  A.      Under Plaintiffs First Cause of Action, for judgment in favor of Plaintiff

  and against Defendants in the principal amount of$223,304, together with damages from lost time,

  lost materials, lost profits, loss of business and incidentals, plus attorneys' fees incurred and to be

  incurred in connection with prosecuting this claim and court costs;

                  B.      Under Plaintiffs Second Cause of Action, for judgment in favor of Plaintiff

  and against Defendants in the principal amount of$223,304, together with damages from lost time,



                                              EXHIBIT A
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 6 of 37 PAGEID #: 16




  lost materials, lost profits, loss of business and incidentals, plus attorneys' fees incurred and to be

  incurred in connection with prosecuting this claim and court costs;

                 C.      Under Plaintiffs Third Cause of Action, for judgment in favor of Plaintiff

  and against Defendants in the principal amount of$223,304, together with damages from lost time,

  lost materials, lost profits, loss of business and incidentals, plus attorneys' fees incurred and to be

  incurred in connection with prosecuting this claim and court costs; and

                 D.      Under Plaintiffs Fourth Cause of Action, for judgment in favor of Plaintiff

  and against Defendants in the principal amount of $223,304, together with damages from lost time,

  lost materials, lost profits, loss of business and incidentals, plus attorneys' fees incurred and to be

  incurred in connection with prosecuting this claim and court costs.

                                                 Respectfully submitted,

                                                 s/Richard L. Carr, Jr.
                                                 Richard L. Carr, Jr. (0003180)
                                                 David M. Rickert (0010483)
                                                 AUMAN, MAHAN & FURRY
                                                 110 North Main Street, Suite 1000
                                                 Dayton, OH 45402-1738
                                                 (93 7) 223-6003
                                                 (937) 223-8550 (fax)
                                                 rlc@amfdayton.com; dmr@amfdayton.com
                                                 Attorney for Plaintiff, Olwin Metal Fabrication,
                                                 LLC




                                             EXHIBIT A
           Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 7 of 37 PAGEID #: 17
Welcome to MultiCam Great Lakes & MultiCam Ohio Valley Techno ...                     https://www.multicamgl.com/




                                                  f ·JMULTICAM
                                                          Complete CNC Solutions




           1.616.956.6676




           ..-"IELC . · E TO MULTICAM GREAT LAKES & MULTICAM
                     0 10 V llEY TECH NO OGY CENTERS




                       MultiCam Great Lakes' Regional Office and Technology Center is
                      located in Grand Rapids, Michigan while MultiCam Ohio Valleys' is
                         in Cincinnati, Ohio. Each Technology Center is complete with
                          machines on the floor for demonstration, a software lab and
                       training area, application training, spare parts and factory trained
                        Technicians to install and keep your MultiCam up and going for
                          years to come. When it comes to top quality CNC Machines,
                     Technical Support and Service-no other manufacturer comes even
                                                       close.




                                                                                                      . .~·~ ..~
                                                                                                   vacy - Terms ·




l of 5                                                                                         3/9/2022, 12: 08 PM
            Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 8 of 37 PAGEID #: 18
Welcome to Multi Cam Great Lakes & Multi Cam Ohio Valley Tech no .. .                   https ://www.multicamgl.com/




                                                             Upcoming Events




                                     OFFERlr\JG A FU LL LIN E OF CN C CUTTING SYSTEMS

               MUlTICAtv1 INC~ MANUFACTURES INNOVATIVE &
                                 VE SATILE
               CNC ROUTER, LASER, PLASMA, WATERJET AND

2 of 5                                        EXHIBl-fiHt~i,e 2 of 5)                            3/9/2022, 12:08 PM
           Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 9 of 37 PAGEID #: 19
Welcome to MultiCam Great Lakes & MultiCam Ohio Valley Techno ...                 https://www.multicamgl.com/


                                     KNIFE CUTTING MACHINES

                      Whether your shop is large or small, we make a solution for every
                                                    budget!
                     Our global network of experts includes over 60 Technology Centers
                      worldwide with 20 across North America, so you can depend on
                                     local training, service and support.


                                                    >   CONTACT US TODAY   _




3 of 5                                                                                     3/9/2022, 12:08 PM
           Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 10 of 37 PAGEID #: 20
Welcome to MultiCam Great Lakes & MultiCam Ohio Valley Techno ...                              https://www.multicamgl.com /




                                                                        . .._,
                                                                :((.<   ' ....
                                                                    _:·ri"ne_
                                                                            cied
                                                                                 -_- -     .       .       - /~


                                                                                         -t :( f       -
                                                                                                           { ....__.
                                                                                                              f~h;J.   -




                             ... -· - - .....
4 of 5                                                                                                        3/9/2022, 12:08 PM
           Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 11 of 37 PAGEID #: 21
Welcome to MultiCam Great Lakes & MultiCam Ohio Valley Techno ...               https://www.multicamgl.com/



                 ) MULrl~AM
                · Complete CNC Solutions




5 of 5                                                                                   3/9/2022, 12:08 PM
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 12 of 37 PAGEID #: 22
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 13 of 37 PAGEID #: 23




 MultiCam is a global supplier of innovative CNC cutting solutions in industries
 ranging from sign making to digital finishing, sheet metal to plate-steel processing,
 hardwoods to cabinet making, thermoform t r imming to plastics fabrication as well
 as a wide variety of aerospace and automotive applications.
 With over 12,000 machines installed worldwide, MultiCam provides cost-effective,
 easy-to -use , programmable cutting and additive manufacturing solutions for large
 and small companies alike.
 Founded in 1989, MultiCam's corporate office and manufacturing facility is located in
 the heart of Dallas-Fort Worth, Texas. With over 50 technology centers across the
 globe and sales and service representatives in over 100 countries, you'll find a
 location near you for local sales, demonstrations, training, service, and support.




                                             IT A
                        EXHIBIT              age 2 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 14 of 37 PAGEID #: 24




                     Your local technology centers
            Grand Rapids Ml                        Cincinnati, OH

 Each Technology Center is complete with machines on the
 f1oor for demonstration, a software training lab, machine &
 application training, spare parts, and certified technicians to
 install and keep your MultiCam up and running for years to
 -come. When it comes to top .q uality CNC Machines, Technical
 Support., and Local Service-no other manufa:c turer comes
 even close. With over 50 locations wor.l dwide, we're always
 nearby!




                                          IT A
                       EXHIBIT           age 3 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 15 of 37 PAGEID #: 25




 RUGGED, HEAVY-DUTY...
                            ... HIGH-PERFORMANCE
ARCOS BRIDGE & RAIL PLASMA
The Arcos ,s designed for manufacture rs who need to cut heavy plate or need a large
proce sing area ·v1thout sacr1ficing accuracy or cut quality. Arcos 1s a complete ground up
design with the latest power supplies from Hypertherm and the latest automatic oxy fuel system
from IHT A well balanced design wit a low profile wh le maintaining a whopping 8 ft of cut
clearance giving 1t a low center of gravity for opt imal motion at 50% higher speeds and 200%
faster accelerations than previous mo els The Arcos system from MultaCam touts best in class
motion for ultra smooth cuts , white utilizing all the latest process control libraries from valuable
partners ltke Hypertherm and IHT.




FEATURES & SPECIFICATION GUIDE
PERFORMANCE / EASE OF USE / PRODUCTIVITY


                            EXHIBIT                         4 of 26)
   Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 16 of 37 PAGEID #: 26




Gantry                                                      Gantry Supports
Engineered for Performa ce                                  High Strength Minimal Vibration
                                                                                                                     s
                                                                                                 nd      SI
                                                                                                 la      p           V
                                                                                                 m       id suppon




Modular Base Rails                                          Precision GearBoxes (X-Axis)
Rigid & Smooth                                              Solid, Heavy-Duty Construction with Helical Rack
                           ra1   are                        These high orque. ov       acl<lasn gearb                for
                    mety 1g1d base reduces      at10n
                                                            mov, g and pos1t1O ,        e prec,s·or ga                eeds a d
            rt      g quah us ng modlJ ar       10n         accet rat,o rates.., h1I   t11t dehvenn s
t at       dd       machin fen ths The Arcos lso
inclu      gra      eet and pre drill bolt hotes tor ea~y
anc on g                                                                                                 multicam.com            3

                                 EXHIBIT                    I~~ 5 of 26)
      Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 17 of 37 PAGEID #: 27




    FEATURES
    The Arcos delivers consistent accruacy and reliable control




    Guide Way System (X-Axis)                                     EZ Contro:I
    Smooth & Accurate                                             Easy-To-Use




    Linear Bearings (Y & Z Axes)                                  Digital Servo Drive System
    Precise & Sturdy                                              Smooth & Reliable
                                                 ,,   1t
                                           pac1t, s in all load   a        ct
                                                                  S         h1                       oc1t
                                                                  a         lo                 d   trac     g
                                                                  ace racy, sm
4
        Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 18 of 37 PAGEID #: 28




-   -    --   --   -




Oxy Torch (Option)                                 Quick-Stop Crash Protection
Versatile Performance                              Quick & Easy
                                                                     rotect10n o c holde protects your
                                                                    lOus damage Ounng the cut proces
                                                                      tot, up            h,t               •
                                                                  nd shifts to l                       p
                                                                  o fi · he pro   before con




                                                                                       multicam.com            5

                               EXHIBIT            Jl9\   7   ot 2&>
       Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 19 of 37 PAGEID #: 29




    ADAPTIVE AUTOMATIC TORCH HEIGHT CONTROL
                                                                                                                    ge v,as to   a e the o
                                                                                               ctu v the       s1        quality possible   1t I   c
                                                                                               metals th cut edge quality wt l not be
                                                                                                                        ough In so-m cases the
                                                                                                                        ind pendent from t          mot1


                                                                                                              oo h cut esc..1ts The sen            n11ty of
                                                                                                              orch      e·gh Control 91 e the cus,
                                                            IS                                              ng t    I   plate The bes pa           IS   that
                                                     •    t onlrol I a int gral              of h oo troll     itself. there ar fe 'ler parts ,,, 1ch




    AUTO REFERENCE VOLTAGE
                                                                                  , ul 1Ca    sy te   automabcall sa ·lP
                                                                          tarting poin, This results    I    a better cut longe
                                                                 n affect the torch height votlage     Wlether ou re cutting fa te or SI v. r
                                                                      e end user tog ess the correct voltage Mu t1Cam el,               i   ales         1




    ADVANCED KERF CROSSING
    T e Z Con o   ,to at,c   II   sa      t olta_ eat 500 tJ~s p r second The data 1s f d nto a se c of a on ms wt, ch arc                               grie
                                                         This 1s done b averag ng the data o er van 1ng pe ods of                e Vihlen t             olta i:




6
                                                                 IT A
                                       EXHIBIT                   age 8 of 26)
   Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 20 of 37 PAGEID #: 30




                                                      l"-
                                                    • J'i
l~ ~t:e.~~.......,.iu.u~.......~~.....,...:..;--.it~ ~




                                                                eciflcatlons                Inches               Metric
                            ::=                              -Ax,s CINranat                       s·
                                                            Z-Ax,s Trav I                      12                305mm

                                                                                             s· - 25·         65m     - 660 m
                                                            Rc:lnge
                                                                                            ~t ·O 0    .       ,1 0 025
                                                            Rapid Trav                      5001 I"-
                                                            D ,ve Syste               Ra
                                                             X.Y
                                                            Dnve System      (Z)        I

                                                                                              I   Cf                ll S re
                                                            •wi thout cutt,ng table
                                                            Widths starting at s· wide and modular length .




                                                                                                              multi cam.com     7

                                   EXHIBIT                  Jlg\      9 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 21 of 37 PAGEID #: 31



         /\rcos




      5 Axis Bevel System




                                                                   SIGM/\NEST




                                            Considerably reduce ·programming lime th rough ouromotic feature~:




                                       <I



                                              Speciftcol'on~




                                                                                                   15



                                                                          12 5'
                                                                         2 0      C
                                                                        . oo ,,:,.c




                            EXHIBIT         rlel 10 ot 2s>
          Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 22 of 37 PAGEID #: 32




                     arum                                    Controlt,

      The Reason Thousands rust
         MultiCam EZ Control
The EZ ontrol concept began in the early 1980s as the
mouse-and -graphical user interfac        reshaped the
person I omputer. Bullding on this concept, MultiCam
s t off to d velop a powerful, feature -rich n tio
control sy em that would be so
e y to teach and u e that it
could empower the average
person with the       b ility to
produce CN part .

Wh n you purchase a MultiCam
cutting soJution your goal i to
automate a proces . Th re re
many rnmpetitive choices, but
o ly MultiC m offers EZ Control -~
th ulttmat advan m nt in the
human m chine interface (HM I) that
allow nyone to run th    NC machin

When companie automate; they focus on
reducing cost and maximizing profit by
producing more parts faster and more
ac urately with les w ste nd le labor. EZ
Contr I help    u tom r b t a hi v these
goals; with the added benefits of shorter
producti n tirnes and extreme ease-of-u e. If
the machine op r tor i out and the next
worker in line must continue with the day's
work, th n the pro e ism de po ible with the
EZ Control system. With only a few rninute of
training, the r~placement machine operator can
continue with the workload and save the day's
produ tion. Now th t is EZ Control!

The MultiCam motion control is one of the most
pow rful yet e sy to-use motion       ontrol systems
available on machine tools today. No wond r MultiCam
n med its motion sy tern EZ Control!




                                                                        ULTICAM
                                                                      mplete CNC Solutions
    Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 23 of 37 PAGEID #: 33



1,1........,,,. . . . . . .
111/flGI IIIGI Ill


With the Core gas console option, X-Definition cut quality is delivered through the nitrogen HDi™
process that prevents the mixing of air into the cut surface, creating an improved, brighter edge
finish, up to 12 millimeters, or½ inch.

On thicker material, above 12 millimeters or ½ inch, the pure nitrogen cutting process yields very
good results, but edges may be darkened.

For the Core console, gas selection options indude oxygen, nitrogen, and air.

A customer's cutting needs align with the Core console if they cut mostly mild steel and
occas·ionally stainless steel, particularly in the thinner range.




                                                                                      Core
               Core console offers XPR X-Definition cutting capability for
                        mild steel and non-ferrous materials.

        X Defin't o
           2 HD
       Ve         ie
    Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 24 of 37 PAGEID #: 34



                                               (/IJMULTICAM
                                               I/, Complete CNC Solutions
The Vented Water Injection console offers all the Core console capabilities, plus :
Over a 10% increase in piercing thickness with argon as an assist gas.
Significantly enhanced stainless steel and aluminum cutting with the FS HDi technology
And, excellent cut quality and surface smoothness on aluminum with patent pending Vented
Water Injection .

Gas selection options expand to oxygen, nitro,gen, FS, argon, and air, with water for the Vented
Water Injection process. A customer who needs high cut quality across a broader thickness range
of all materials, especially one who is cutting more aluminum, would benefit most from the VWI
console.




               Patent pending Vented Water Injection processes yield
                     excellent resultsfor non-ferrous materials.


                                                                            HPR260XD XPR300
             X Defmtfon      2
                  HDi                           Maximum output power        45 .5 kW   63kW
            Vent-to-Shield
                                                 100% duty arc    voltage   175 V      210 V

                                                Pierce capacity       MS    1 1/4"     2"

                                                                      SST   1-1/4''    1-1/2"

                                                                      AL    1"         l -1/2"

                                                 Severance cap.       MS    2-1/2"     3"

                                                                      SST   2"         3"
                                                                      AL    2''        2"




  u ........, ..... .,...
  lllfflCI IIIGI Ill
 Cut with canffdencr         EXHIBIT     _,,.,--Jgl   13 of 26)
      Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 25 of 37 PAGEID #: 35




Delivering aH the capabilities that the Core and VWI consoles offer, the OptiMix1 "'
console a1so adds discrete 3-gas mixing argon, hydrogen, and nitrogen - for the world's
most flexible, premium stainless steel and aluminum cutting capability. Gas selection
options expand further to oxygen, nitrogen, FS, argon, hydrogen, and air, with water for
the Vented Water Injection process.
The OptiMix gas console offers the most versatility and highest cut quality possible to
customers cutting mild steel, stainless steel and aluminum.




                                             OptjMix console adds discrete 3-gas
                                             mixing and flexibility to stainless steel
                                                    and aluminum cutting.
                   X- efinitio
                       2 HDi
                  Vent to
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 26 of 37 PAGEID #: 36



                           MULTI                                M
                            Complete CNC Solutions
                Solving Your      anu   ctu ing Is ues Since 198
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 27 of 37 PAGEID #: 37



  BASE {INCLUDED)
   Title/Description                                                                        Qty


  Arcos Series Plasma                                                                         1
                       • Bridge & modular base rail design with 1/2" thick tubular steel & 1' x 1-1/2"
                         steel bars. Gantry is 1/4'; thick, 12" x 12" tubular steel & reinforced with 1/4"
                         structural steel. The gantry supports are a steel weldment with extra wide
                         gantry stance & bearing spacing to provide an extremely rigid platform.
                         Machine is welded, stress relieved, & precision machined.
                       • HELICAL rack & pinion drive system on Xa, Xb, & Y axis.


  Multicam standard handheld user Interface                                              1
                       • "User Friendly" hand held graphical interface controller with job
                         previewing.
                       • Industrial Extratech ultra-smooth motion control with Ethernet DNC



  Advanced Graphical CNC Interface                                                            1
                       • The MultiCam Advanced Workstation CNC interface that includes PC,
                         Workstation, and Windows HOME operating system.
                       • Pre-loaded with COREO 5 BMO Software Suite ' R    B      11 E




  :B rushless AC Servo System                                                            1
                       • Schneider brushless AC servo drive system with matched Schneider servo
                         motors & Precision high torque, low backlash gearboxes are ideal for
                         moving & positioning the precision gantry at high speeds up to 15ooipm.



  Bevel Head                                                                                  l
                       • 5-axis Head from ESAUTOMATION
                       • Latest Process control libraries from Hypertherm
                       • SigmaNest Integration
                       • Automatic Bevel nesting and clearance for maximum material utilization
                       • Automatic Bevel recognition from all major CAD systems such as C DL,
                         AutoCAD, DXF, DWG, SOLIDWORKS, Inventor and others
                       • Settings for bevels, grain contraints, leadins/leadouts can be saved to part
                         library
                       • Multiple process support such as marking and pre-piercing
                       • Max angle 50 deg, both B and C axis




                                 EXHIBIT                    Jgi 16 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 28 of 37 PAGEID #: 38



 MACHINE VOLTAGE
   Title/Description


  220v/230v
                       • Pre-wired for 22ov/2 30v 3 phase




 CUTTING AREA
   Title/Description


  6' x 12' Cutting Area
                       • 72 " x 144" (6'x12') Process area


  fl/)
  NOTABLE
   Title/Description


  This quote does not include a table (cutting
  surface)
     • Customer has existing water table
     • No need for the cutting surface




                                                             IT A
                                 EXHIBIT                     age 17 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 29 of 37 PAGEID #: 39



 TORCH HEIGHT CONTROLLER {INCLUDED)
   Title/Description


  Automatic Torch Height System (ATHC)
                       • Automatic Torch Height System includes high speed Z-Axis motion
                         with linear bearing ways and the Ts accuracy precision ground &. hardened
                         ball screw controls the I 2" of stroke & spring actuated failsafe crash
                         protection braking system. Two process surface detection. Smooth and
                         accurate Arc Voltage Height Control




 LASER CROSS HAIRS (INCLUDED)
   Title/Description


  Laser Cross Hair Pointer
                       • Decrease Job Set-Up Times
                       • Quickly and accurately identify reference points on the material to
                         minimize job set-up time. 'L r Point r" \71 ·O




 PLASMA UNIT
   Title/Description


  Hypertherm XPR300 High Definition Plasma
  Unit
                       •   Hypertherm 300 amp Plasma Unit
                       •   Maximum mild steel pierce capacity 2". Edge start 3"
                       •   Maximum stainless steel pierce capacity 1-1/2". Edge start 3"
                       •   Maximum aluminum pierce capacity 1-1/2". Edge start 2"
                       •   Includes XPR300 Preventative Maintenance Kit (380V-6ooV)
                       t th n ..,, P




                                 EXHIBIT                  Jgl 1s of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 30 of 37 PAGEID #: 40




 IMPORTANT: Plasma unit voltage selection is very important. Please verify which
 voltage selection is most closely representative of your measured building voltage
 where the unit will be connected.




 PLASMA UNIT VOLTAGE
   Title/Description


  480v 3 Phase
                       • Plasma Unit is Pre -wired for 480v 3 phase




 GAS CONSOLE
   Title/Description


  Hypertherm XPR Optimix Auto-Gas Console
                       • Automatic gas con ole for quickly and automatically switching between
                         various gasses simply by choosing desired material.
                       • Includes new N z HDP"' process that prevents the mixing of air into
                         the plasma gas, creating an improved, brighter edge finish.
                       • 10% increase in piercing thickness with argon-assist.
                       • Significantly enhanced stainless steel and aluminum capabilities are
                         delivered with the addition of Fs HDi processes and patent pending Vented
                         Water Injection (VWI).
                       • Includes discrete 3-gas mixing - Ar, H2, and N2 for premium stainless steel
                         and aluminum cutting capability.
                       • INCLUDES OPTIMIX GAS HOSE KIT

                 Ga· 'on         omp ri    11 (   ·m ·




                                                          IT A
                                EXHIBIT                  age 19 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 31 of 37 PAGEID #: 41



 AIRASSIST (INCLUBED)
   Title/Description

  Air Booster w/Pig Tank
                       • Boosts air pressure to 12opsi constant.
                       • Reserve air tank to ensure constant desired pressure.
                       • Air prep components to help maintain clean, dry air.




 SOFTWARE
   Title/Description


  SigmaNest
                 SigmaNEST Software Included:

                       •   One license for SigmaNEST Techno
                       •   One license SigmaNEST Bevel Programming Module
                       •   One license BHQ Module
                       •   One license Bevel Post Processor for Multicam
                       •   First Year of Software Maintenance plan
                       •   4 Days onsite SigmaNEST Training
                       •   Travel and Expenses for SignmaNEST Trainer




                                 EXHIBIT                 J"gl 20 ot 2&>
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 32 of 37 PAGEID #: 42



 OPTIONS: (Click box to add to total)
   Title/Description                                                Cost               Qty            Subtotal


    XPR300 Mild Steel Consumable Starter Kit
    w/Torch
                       •   428618 [pack of 1] KIT- PRTKT:XPR300A MILD STEEL
                       •   Includes 80 - 300 amp consumables for Mild Steel
                       •   Includes extra quick disconnect torch.
                       •   Includes spanner wrench
                       •   Includes consumable tool


    XPR300 SS/AL Consumable Starter Kit
    w/Torch
                       •   428619 [pack of 1] KIT-PRTKT:XPR300A SS/AL
                       •   Includes 40 - 300 amp consumables for SS/AL
                       •   Includes extra quick disconnect torch.
                       •   Includes spanner wrench
                       •   Includes consumable tool


    Spare XPR Qu ick Disconnect Main Body
                       • Additional quick disconnect torch body
                       • Allows or quickly changing to different consumables set.




     Logic Trace Digitizing System
                       • Quickly & accurately reverse engineer parts and convert them to dxffiles,
                         ready for toolpathing with the Logic Trace digitizing tracing table & pen.
                         20' x 24" tracing area. (Other sizes available) .1            s

                         v rk~.




    ,
    3 Stage Coalescing Air Filtration System
                       • Removes condensed liquids, solid particles, etc. (STRONGLY
                         recommended. If not purchased here, please have one installed near
                         machine location prior to installing technicians arrival)




                                                           1
                                 EXHIBIT                   9 1 21 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 33 of 37 PAGEID #: 43


 INSTALLATION /WARRANTY
   Title/Description                                                                     Qty


  Installation                                                                              1
                         • Includes "at your pace" machine installation & operator training at your
                           facility. "We do not charge for extra days"
                         • Includes follow up training day 1-2 weeks after initial installation



  Local Support                                                                             1
                         • Multiple local "in your area" factory trained service technicians with fully
                           stocked service vans to quickly respond to your service and training needs.




  Phone Support                                                                             1
                         • Free unlimited lifetime phone & remote diagnostic support during normal
                           business hours.




  Warranty                                                                                 1
                         • Includes I year parts & labor warranty (subject to our Terms & Conditions)
                         • Our warranty includes drive time, mileage, and hotel stay. Does our
                           comP-etitors?




  FREIGHT (CHOOSE ONE)
     Title/Description                                                 Cost                               Subtotal


 0
  1-&    Freight Included

                   F.O .B .: Dallas, TX - Freight included with proposal


  .  .             Note* Customer is responsible for unloading machine and setting in final
                   place


 0       Freight Arranged By Customer                                $0.00                                    $0.00




  a
                         • Customer agrees to arrange freight from factory to customer location




                                  EXHIBIT                  J[Jl 22 ot 2&>
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 34 of 37 PAGEID #: 44



 TERMS
    Title/Description                                                                                                    Subtotal


 Terms                                                                                                                        $0.00
                        •   50% due with order 50% due prior to machine shipping
                        •   FOB Dallas, TX
                        •   Mid-December shipment
                        •   Stock machine, Subject to Prior Sale


  2021 Stock Machine Factory Discount                                                                                 $-11, 750.00




 Warranty                                                                                                                     $0.00
      • Arcos Plasma Machine is covered by 2 year parts and labor warranty by MultiCam
      • Hypertherm Torch/ Leads/ Gas Console/ Plasma unit is covered by I year parts and labor
        warranty by MultiCam




 TOTAL INCLUDING SELECTED OPTIONS: $223,304.00
 Thank you for the opportunity to help with your production needs!

 Brian Newhouse
 MultiCam Great Lakes Inc



 Accepted by: _ _.._._.._______ _ _ _ _ _ _ __ __ __ __

        Date: _ _ _ _ _ _ _ _ _ __

 Olwin Metal Fabrication, Derrick Olwin

 **Note** All quotations are subject to standard Terms & Conditions. Orders accepted subject to prices & specifications in effect
 at time of order. Your electrician will need to provide power to the machine. Complete installation documentation will be
 provided. Multi Cam Great Lakes, lnc. provides no warranties or consulting support for any software not provided with
 the Multi Cam CNC. We will guarantee the Multi Cam CNC to be fully functional and operating properly at the time of
 installation. If custom payment terms are agreed upon, the final payment shall be due at installation or net 3odays from the date
 of shipment, whichever is sooner. If Customer fa ils to make final payment within 5 days of its due date that non-payment will




                                   EXHIBIT                        J~l 23 ot 2s>
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 35 of 37 PAGEID #: 45



 result in a service charge of the lesser of 1.5% per month (18% per annum)or the maximum amount allowable bylaw; and/or a
 storage fee.




                                  EXHIBIT                      cJ[il 24 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 36 of 37 PAGEID #: 46




                                          TERMS AND CONDITIONS

                                                            8. R             f PR DU T 1r Jlur ha\('1 !; ,111 r
                                                            third p                       us1 disclose, wr ,tt n
                                                                nd11tom to -.uth th11d p.trl'i , 1 cl udm bur n ,r Ii cu t
                                                            M.inufJ t r r·!> w rr n v lim,t~ nd den I            II
                                                            cmphed l.',,Jrrantce-\ ncludcng cmpl,ed wauantlc>5 of
                                                            m r hanr.tb•lct and fitnP\j tor ii particular pur <,t If ur
                                                            fctrl!. to m.ikt- ·ux h d, cl urr , th n M,tnuf ttur ,, • I m 1t •
                                                            wa11anty dot>s n t r.amfN and Ptmhas r alon ill b
                                                            respon!>1ble o su h thud pact

                                                                                                   rr.1nt\ to Pu
                                                                    t w,11 b • tr P Ir   m rh h ct\ ,n m  I raal
                                                                                                    fsh1pme
                                                                                                       r pmd
                                                                                                    ndwork
                                                                                                        pec1f
                                                                                                       d flMjt
                                                                                                              I
                                                                                                              r~•ona
                                                                                                             r dt t<. .
                                                                                                                • 1 lit ittd t , p ,r
                                                                                                                            cturer o

                                                                                                                                 h.in
                                                                                                                                    f




                                                                                                                                 b


                                                                                                                                  &
                                                                                                                                       I


                                                                                                                                   ,

                                                                                                                                       d




                                                                                                    ntytl 1
                                                                     M•.nuf                          th tn
                                                                     N ,s , Mpom,bl~ f
                                                                    t~d p.1r          K
                                                            sl11pptd Jt M.,          's
                                                            Manufacl rPt .
                                                                       ror                1ft
                                                                                1<:h must
                                                                                IUI      C
                                                                                thi       da
                                                                              cem         a rt
                                                                             ,W., rf      I)
                                                            period will be a!>ses!.ed a I
                                                            w,u, rHPd p.11ts, Manufa t                                            r




     M ulti Cam, Inc. 1025 West Roya l Lane, DFW Airport, TX 75261 Telephone: 972-929-4070 Fax: 972-929-4071
                                                www.multicam.com

                             EXHIBIT _ ,.,._ 1            gb25 of 26)
Case: 3:22-cv-00100-MJN-CHG Doc #: 1-3 Filed: 04/14/22 Page: 37 of 37 PAGEID #: 47




                                                         TERMS ANO CONDITIONS

                                                                                          upd I~ Pu,~h              ~   ,   111   ,,1 11   'l   f , m       t ,.,.    n


                                                                                 //pmddlt I I ·8 v/c                               Ill
                                                                                 rade controls. [mb.l rg                                                     ha1t

                                                                         ~ http-//www st
                                                                      Statt-, Non Prohft>r .1
                                                                      D
                                                                                                                                            ,rnv
                                                                      rn        rd lr<.t<,, PurchJ\ r   ,1gt                      contmu      t h4
                                                                      P            under\tJnd5, that ii                           1ola t1on und
                                                                      pr        1 w,11 r \Ult ,n foll d•"'                        ht'- ,nc 1d(>nt t   all




                                                                                                                                                             I
                                                                                                   du t        <1                                                1pan
                                                                      •~ romm,ttrd to a 1f'fO tolt>ranc.                                                      ar'I
                                                                                                        IW\                                                      t
                                                                                                         .. gn Couupt                                            A•
                                                                                                         or
                                                                                                         nl (                 C                               b.Jtin.
                                                                                                          i.11                rn
                                                                                                         er                 n1io
                                                                                                                •                 Mu
                                                                                                          d                  I'\ .




                                                                      V20.0

                                     01 / 0   .1c / pr   r.1m~



                         \/Pr,'orc                       i 11   r
                        n,,I nd




     MultiC m. Inc. 1025 West Royal Lane, DFW Airport, TX 75261 Telephone: 972-929-4070 Fax: 972-929-4071
                                             www.multicam.com

                              EXHIBIT                               J[Jl 26 of 26)
